Case 15-17386-amc            Doc 46
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Michael Babatunde Olanrewaju
       Robin Lynne Olanrewaju aka Robin L Roberts                                     CHAPTER 13
                             Debtor(s)

MIDFIRST BANK
                                  Movant
                vs.                                                               NO. 15-17386 AMC

Michael Babatunde Olanrewaju
Robin Lynne Olanrewaju aka Robin L Roberts
                             Debtor(s)
                                                                                  11 U.S.C. Section 362
William C. Miller, Esq.
                                  Trustee

                             NOTICE OF MOTION, RESPONSE DEADLINE
                                      AND HEARING DATE

         MIDFIRST BANK has filed a Motion for Relief from Stay with the court for relief from the
 automatic stay of Section 362 of the Bankruptcy Code.

         Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
 to consult an attorney.)

        1.      If you do not want the court to grant the relief sought in the motion, then on or before
 January 17, 2018 you or your attorney must do all of the following:
                (a)     file an answer explaining your position at:
                                 United States Bankruptcy Court
                                 Robert N.C. Nix Building
                                 900 Market Street, Suite 400
                                 Philadelphia, PA 19107-4299

 If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough so that it will
 be received on or before the date stated above; and
                  (b)      mail a copy to movant's attorneys:
                                    Matteo S. Weiner, Esquire
                                    Thomas Puleo, Esquire
                                    KML Law Group, P.C.
                                    Suite 5000 - BNY Mellon Independence Center
                                    701 Market Street
                                    Philadelphia, PA 19106-1532

          2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and
 attend the hearing, the court may enter an order granting the relief requested in the motion.

          3.      A hearing on the motion is scheduled to be held before the Honorable Ashely M. Chan, the
 United States Bankruptcy Judge, in Courtroom 5 at the United States Bankruptcy Court, Robert N.C. Nix
 Building, 900 Market Street, 2nd Floor, Philadelphia, PA 19107-4299 on January 30, 2018, at 11:00am , or
 as soon thereafter as counsel can be heard.

          4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if you
 request a copy from the attorney named in paragraph 1(b).
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        5.      You may contact the Bankruptcy Clerk's office at 215-408-2800 to find out whether the
hearing has been canceled because no one filed an answer.

                                                   /s/ Matteo S. Weiner, Esquire
                                                   Matteo S. Weiner, Esquire
                                                   Thomas Puleo, Esquire
                                                   KML Law Group, P.C.
                                                   701 Market Street, Suite 5000
                                                   Philadelphia, PA 19106-1532
                                                   Phone: (215) 627-1322 Fax: (215) 627-7734
                                                   Attorneys for Movant/Applicant

Dated: January 2, 2018
